IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

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Piaintiff, ) “j:§§ °°
) §§ §
v. § No. ?n§: \;z_::
AUTo-oWNERsINSURANCE ) Removed from Circuitcour§?{i €"
COMPANY, ) Davidson County, Tennessee
)
Defendant. )
)

NOTICE OF REMOVAL
PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332 and 1441 Auto-OWners
Insurance Company (hereafter “Auto-Ovvners”) hereby provides notice of removal of this action

from the Circuit Couit for Davidson County, Tennessee. As grounds for removal, Auto-Ovvners
states as follows:

l. Thi's action Was commenced on June 9, 2016, in the Circuit Court for Davidson

County, Tennessee styled Viola Shipp v. Auto-Owners Insurance Companv, Case Number

l6C1568. A copy of all process, pleadings and discovery filed in the Circuit Court for Davidson

County, Tennessee and served upon Auto-Owners is attached hereto as Exhibit A.
2.

A copy of the Complaint Was served on Auto-Owners on July l l, 2016 through the
Tennessee Commissioner of Insurance’s office Auto~OWners is filing this Notice ofRemoval

Within thirty (30) days after receiving copies of the Summons and Complaint. This Notice of
Removal is timely filed under 28 U.SC. § l446(b).
3.

This Court has diversity of citizenship jurisdiction pursuant to 28 U.S.C. § 1332
and 28 U.S.C. § l44l(b).

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4. Plaintiff is a resident and citizen of Antioch, Davidson County, Tennessee

5. Auto-Ovvners is a Michigan company With its principal office located at 610l
Anacapri Boulevard, Lansing, Michigan.

6. The Complaint contemplates an amount in controversy in excess of $75,00(),
exclusive of interest and costs, in that Plaintiff specifically seeks compensatory damages of
$l42,500, plus a bad faith penalty award.

7. The United States District Court for the Middle District of Tennessee, Nashville
Division, is the district and division embracing Davidson County, Tennessee, the place Where the
state court action Was pending 28 U.S.C. § l44l(a).

8. Upon filing this Notice of Removal, Defendant is giving notice to Plaintiff and to the
Circuit Court Clerk of the Circuit Court of Tennessee, Tvventieth Judicial District, Davidson County,
Tennessee, as required by 28 U.S.C. § l446(d). A copy of the Notice to be served on Plaintiff and
the Clerk of the Davidson County Circuit Court is attached hereto as Exhibit B.

9. By filing this Notice of Removal, Defendant does not Waive any claims or defenses
that may be available to it. E.g. Arizona v. Mavpennv, 451 U.S. 232, 243 n.l'7 (1980). This
includes any legal or equitable claims or defenses, counterclaims, and/or right to arbitration or
other remedy or procedural mechanism

lO. A completed Civil Cover Sheet is attached hereto as Exhibit C.

WHEREFORE, take notice that the Defendant, by and through its counsel, removes the
above-entitled action from the Circuit Court for Davidson County, Tennessee to the United States

District Court for the Middle District of Tennessee, Nashville Division.

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Respectfully submitted,

/s/ Joshua G. Offutt

Joshua G. Offutt (TN BPR #022215)

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Atforneyfor Auto-Owners Insurance Company

CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing has been served via electronic mail

and First Class Mail, postage prepaid, addressed to Thomas W. Thompson, 4725 North Lois
Avenue, Tampa, Florida 33614, on this 2'7th day of August, 2016.

/s/ Joshua G. Offutt
Joshua G. Offutt

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